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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     DENNA CHAMBERS
6
7
8                                    UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                    )   Case No. 2:16-cr-010 MCE
                                                  )
11                           Plaintiff,           )   AMENDED WAIVER OF PERSONAL
                                                  )   APPEARANCE; ORDER
12         v.                                     )
                                                  )   Judge: Hon. Morrison C. England, Jr.
13   DENNA CHAMBERS, et al.                       )
                                                  )
14                           Defendants.          )
                                                  )
15
16
            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant , DENNA
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     CHAMBERS, hereby waives the right to be present in person in open court upon the hearing of
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     any motion or other proceeding in this case, including, but not limited to, when the case is set for
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     trial, when a continuance is ordered, and when any other action is taken by the court before or
20
     after trial, specifically, appearances for any hearing regarding modification of conditions of
21
     supervised release, except upon arraignment, plea empanelment of jury and imposition of
22
     sentence.
23
            Defendant hereby requests the Court to proceed during every absence which the Court
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     may permit to this waiver; agrees that defendant’s interests will be deemed represented at all
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     times by the presence of the defendant’s attorney, the same as if the defendant were personally
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     present; and further agrees to be present in court ready for trial any day and hour the Court may
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     fix the defendant’s absence.
28

      Waiver of Appearance                            -1-
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1             The defendant further acknowledges being informed of the rights under Title 18 U.S.C.
2    §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and dates
3    under that Act without the defendant’s personal presence.
4             The original signed copy of this waiver is being preserved by the attorney undersigned.
5    Dated:            June 9, 2016
6
                                                          /s/ Deena Chambers
7                                                  DENNA CHAMBERS
                                                   Original retained by attorney
8
9             I agree and consent to my Client’s waiver of appearance.
10   Dated: June _21, 2016
                                                     /s/ Matthew C. Bockmon
11                                                 MATTHEW C. BOCKMON
12                                                 Assistant Federal Defender
                                                   Attorney for Defendant
13                                                 DENNA CHAMBERS

14            IT IS SO ORDERED.

15   Dated: June 28, 2016

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      Waiver of Appearance                           -2-
